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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

DONALD AND BONNIE POLLARD,
et al.

                              Plaintiffs,                            Case No. 3:23-CV-135-wmc

                      v.

JOHN JOHNSON, SR.,
et al.

                        Defendants.
______________________________________________________________________________

            Defendants’ Motion to Dismiss Plaintiffs’ Amended Complaint
______________________________________________________________________________

       The Defendants, Lac du Flambeau Tribal Council President John Johnson, Sr., Lac du

Flambeau Tribal Council Vice President George W. Thompson, Lac du Flambeau Tribal Council

Treasurer William J. Stone Sr., Lac du Flambeau Tribal Council Secretary Jamie Ann Marie

Allen, and Lac du Flambeau Tribal Council Members Raymond Allen, Jeffery Bauman, Sr., Eric

Chapman, Sr., Lyle Thomas Chapman, Paula Poupart, Louis St. Germaine, Joseph Wildcat, Sr.,

and Patricia Zimmerman respectfully request that this matter be dismissed for the following

reasons:

   1. Under Fed. R. Civ. P. 12(b)(1), the Court must dismiss the claims in Count I of the

       Plaintiffs’ Amended Complaint because the Plaintiffs have failed to raise a federal

       question sufficient to provide this Court with subject matter jurisdiction;

   2. Under Fed. R. Civ. P. 12(b)(6), the Court must dismiss the Plaintiffs’ claims for failure to

       state a claim upon which relief can be granted because the Defendants are elected Tribal

       Council officials of a sovereign federally recognized Indian tribe, and as such, are



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       shielded by the doctrine of sovereign immunity, and the Plaintiffs cannot show any ultra

       vires actions;

   3. Under Fed. R. Civ. P. 12(b)(6), the Court must dismiss the Plaintiffs’ Count IV because it

       has failed to state a claim upon which relief can be granted for an implied easement;

   4. Under Fed. R. Civ. P. 12(b)(7), the Court must dismiss the Plaintiffs’ claims for failure to

       join a required party because Plaintiffs have failed to name the Lac du Flambeau Band of

       Lake Superior Chippewa Indians and because Plaintiffs have failed to name the United

       States of America as Defendants; and

   5. The Court should exercise its discretion to decline to exercise supplemental jurisdiction

       over the state law claims raised in Counts II and III of the Plaintiffs’ Amended

       Complaint.

This motion is supported by the Brief in Support of Defendants’ Motion to Dismiss Plaintiffs’

Amended Complaint.

       The Defendants respectfully request that the Court dismiss this case in its entirety.

Dated: April 10, 2023                         RESPECTFULLY SUBMITTED:


                                              /s/ Andrew Adams III
                                              Andrew Adams III (WI #1052371)
                                              Leah K. Jurss (MN #0399549)
                                              Samantha Hermsen (MN #0401819)
                                              Lorenzo E. Gudino (WI #1115753)
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